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 4
     Attorney for Defendant
 5
     JANIS SANTANA PIRT
 6
 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10
11
     UNITED STATES OF AMERICA,                    )    Case No. 2:11-CR-00468 TLN
12                                                )
                                  Plaintiff,      )
13                                                )    STIPULATION AND ORDER TO
            vs.                                   )    MODIFY CONDITIONS OF
14                                                )    PROBATION
                                                  )
15                                                )
     JANIS SANTANA PIRT,                          )
16                                                )
                                  Defendants.     )
17                                                )

18           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
19   AMERICA, through its counsel of record, Michael D. Anderson, Assistant United States
20   Attorney, and Defendant, JANIS SANTANA PIRT, through her counsel of record,
21   Joseph J. Wiseman, that Defendant’s conditions of probation be modified to permit
22   Ms. Pirt to also travel within the Northern and Central Districts of California without
23   first seeking permission from her probation officer.
24           Ms. Pirt has completed one year of electronic monitoring without incident and
25   as of June 8, 2015, is no longer required to wear an ankle monitor. She is current with
26   her restitution payments. She is presently subject to a standard condition of
27   supervision that restricts her to the Eastern District of California, unless first getting
28   permission from her probation officer. She is requesting that this condition, Standard

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     Stipulation and Order To Modify                                        2:11-CR-00468 TLN
     Conditions of Probation
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 1   Condition of Supervision No. 1, be expanded to permit her to travel within the
 2   Northern and Central Districts of California without first seeking permission, so that
 3   she can more easily visit her family in Los Angeles and Orange counties, and her in-
 4   laws, who reside in Contra Costa County.
 5           United States Probation Officer Vladimir Pajcin, who is supervising Ms. Pirt, has
 6   no objection to the requested modification. All other conditions of supervision will
 7   remain in effect.
 8           Therefore, undersigned are entering into this stipulation to request this change
 9   be made to defendant’s conditions.
10           It is so stipulated.
11   Dated: June 18, 2015                      Respectfully submitted,
12                                             WISEMAN LAW GROUP, P.C.
13                                             By:     /s/ Joseph J. Wiseman
14                                                     JOSEPH J. WISEMAN
                                                       Attorney for Defendant
15                                                     JANIS SANTANA PIRT
16
17   Dated: June 18, 2015                      BENJAMIN B. WAGNER
                                               United States Attorney
18
19                                             By:      /s/

20                                                    MICHAEL D. ANDERSON
                                                      Attorney for Plaintiff
21                                                    UNITED STATES OF AMERICA
22
                                             ORDER
23
24
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
25
     conditions for supervised release of defendant, JANIS SANTANA PIRT, be modified
26
     pursuant to the stipulation of the parties to modify Standard Condition of Supervision
27
     No. 1, to read as follows:
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 1           1. The defendant shall not leave the Eastern, Northern, or Central Districts of
 2               California without permission of the court or probation officer;
 3   All other conditions of probation shall remain in force.
 4
     Dated: June 18, 2015
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 6
 7
 8
                                               Troy L. Nunley
 9                                             United States District Judge
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     Stipulation and Order To Modify                                      2:11-CR-00468 TLN
     Conditions of Probation
